                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                          AT KNOXVILLE



  UNIVERSITY OF TENNESSEE RESEARCH
  FOUNDATION,                                         No. 3:19-cv-00508-CLC-HBG

                    Plaintiff,
                                                      JURY TRIAL DEMANDED
               v.
  CAELUM BIOSCIENCES, INC.,

                    Defendant.


                                     FIRST AMENDED COMPLAINT
         University of Tennessee Research Foundation (“UTRF” or “Plaintiff”) brings this action

  for breach of contract, conversion, tortious interference with contract, tortious interference with

  business relations, slander of title, unjust enrichment, and misappropriation of trade secrets against

  Defendant Caelum Biosciences, Inc. (“Caelum” or “Defendant”) arising from Caelum’s unlawful

  possession and use of a groundbreaking monoclonal antibody and related research materials

  developed by Dr. Alan Solomon, Emeritus Professor at The University of Tennessee Graduate

  School of Medicine and former head of the Human Immunology and Cancer Research Program.

                                            INTRODUCTION
                 Caelum is commercializing an antibody used for the treatment of amyloidosis that

  it does not own. The antibody was developed by Dr. Alan Solomon of The University of

  Tennessee and the ownership of the antibody materials and associated research materials are held

  by University of Tennessee Research Foundation. Caelum has refused to compensate UTRF for

  its use of the antibody despite repeatedly recognizing that Caelum was “founded . . . to advance

  the clinical development of research from Alan Solomon, M.D., of The University of Tennessee

  Graduate School of Medicine.”



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  About Caelum Biosciences, CAELUM BIOSCIENCES WEBSITE (last visited November 2019)
  (emphasis added), available at: https://www.caelumbio.com/about/history/.

                 Caelum continues to evade compensating UTRF for its development of 11-1F4

  while simultaneously boasting of Caelum’s close relationship to the work of The University of

  Tennessee. “CAEL-101 which is also referred to as 11-1F4, that was the original name of the

  compound emanated from the University of Tennessee and the University of Tennessee actually

  really initiated the whole development process of treatments to attack the Amyloid and they started

  about 20 years ago.” Caelum Biosciences CEO Michael Spector Interview: Looking for a Better

  Alternative to Chemotherapy for AL Amyloidosis, THE BIO REPORT TRANSCRIPT at 8:29-8:45

  (2018).

                 In the mid-to-late 1990s, Dr. Solomon created the 11-1F4 antibody and discovered

  its effectiveness in treating amyloidosis while working as a professor and researcher for The

  University of Tennessee. Caelum has repeatedly acknowledged that the 11-1F4 antibody was

  developed by Dr. Solomon while at The University of Tennessee.




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         Dr. Solomon pioneered early development of antibodies that work to break up pre-
         existing amyloid in tissues, and to help the body’s immune system remove the
         deleterious material. His “anti-amyloid” monoclonal antibody 11-1F4, now
         designated CAEL-101, has demonstrated its ability to bind to amyloid and promote
         dissolution in mice bearing human AL amyloid tumors.
  About Caelum BioSciences, CAELUM BIOSCIENCES WEBSITE (last visited November 2019)
  (emphasis added), available at: https://www.caelumbio.com/about/history/.

                 Dr. Solomon and his colleagues Drs. Rudi Hrncic and Jonathan Wall, who were

  also employed as faculty members at The University of Tennessee, conducted early-stage research

  on the 11-1F4 antibody and its applications in helping to fight amyloidosis.

                 Shortly after Dr. Solomon and his colleagues’ discovery of the anti-amyloid effects

  of the 11-1F4 antibody, Dr. Solomon and his colleagues filed an invention disclosure and executed

  an agreement and assignment, assigning all right, title, and interest in the 11-1F4 antibody

  technology to The University of Tennessee Research Corporation (now UTRF).1

                 Despite UTRF’s continued ownership of the 11-1F4 technology, Caelum has

  publicly claimed that it holds the “worldwide license rights” to 11-1F4.         Based on these

  representations Caelum has secured significant monetary compensation including an agreement

  for payments of up to $500 million dollars based on the success of the 11-1F4 technology.




  1
   In 2003, The University of Tennessee Research Corporation was renamed and reorganized
  under its current name, University of Tennessee Research Foundation (“UTRF”).


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  Alexion and Caelum Biosciences Announce Collaboration to Develop Targeted Therapy for
  Light Chain (AL) Amyloidosis, PRESS RELEASE (January 31, 2019) (emphasis added), available
  at: https://www.caelumbio.com/alexion-and-caelum-biosciences-announce-collaboration-to-
  develop-targeted-therapy-for-light-chain-al-amyloidosis

                 UTRF seeks monetary damages arising from Caelum’s decision to take and develop

  a promising immunotherapy it knew belonged to Plaintiff without consulting or securing any rights

  for its development from UTRF.

                                           THE PARTIES
  UNIVERSITY OF TENNESSEE RESEARCH FOUNDATION

                 University of Tennessee Research Foundation is a non-profit 501(c)(3)

  organization that promotes, licenses, and commercializes The University of Tennessee’s

  intellectual property.

                 Originally created in 1935 as The University of Tennessee Research Corporation,

  University of Tennessee Research Foundation helps The University of Tennessee fulfill its mission


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  in becoming a national leader in research, discovery, and innovation. University of Tennessee

  Research Foundation “was established to protect, manage, and commercialize university

  inventions and intellectual property; grow the university research enterprise; develop and support

  an entrepreneurial culture; and contribute to state and regional economic development.”2

                 Established in 1794, The University of Tennessee is Tennessee’s flagship public

  research institution based in Knoxville, Tennessee.         The University of Tennessee has

  approximately 50,000 students3 and over 360 degree programs.4 As recently as 2017, The

  University of Tennessee system spent more than $481 million directly on research and sponsored

  program expenditures.5 To maximize the public benefit that its research generates, technological

  innovations developed by The University of Tennessee faculty are typically assigned to University

  of Tennessee Research Foundation, which commercializes these innovations on behalf of The

  University of Tennessee.

                 University of Tennessee Research Foundation is the second-oldest university

  research foundation in the United States. University of Tennessee Research Foundation’s mission

  is to promote, support, and carry out the research mission of The University of Tennessee, to

  enhance the competitive position of The University of Tennessee for research and development

  funding, facilitate expanded research and development activities at The University of Tennessee,

  and to facilitate the commercialization of University of Tennessee research outcomes and the




  2
    State of Tennessee Comptroller of the Treasury, THE UNIVERSITY OF TENNESSEE FINANCIAL
  AND COMPLIANCE AUDIT REPORT at 19 and 57 (January 20, 2015).
  3
    THE UNIVERSITY OF TENNESSEE WEBSITE, available at: https://tennessee.edu/about/.
  4
    THE UNIVERSITY OF TENNESSEE KNOXVILLE WEBSITE, available at:
  https://admissions.utk.edu/study/programs-and-majors/.
  5
    THE UNIVERSITY OF TENNESSEE WEBSITE, available at: https://tennessee.edu/about/.


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  transfer of research-generated technology from The University of Tennessee to commercial and

  industrial enterprises in furtherance of the economic development of the State of Tennessee.

                 UTRF is responsible for licensing intellectual property covering University of

  Tennessee inventions and collecting royalties on behalf of The University of Tennessee from those

  license agreements. The State of Tennessee Comptroller has described the role of UTRF as:

         The foundation’s stated purpose is, in conjunction with the university, to grow the
         University of Tennessee research enterprise; harvest, manage, and market
         University of Tennessee intellectual property; encourage and support
         entrepreneurial education and ventures by faculty, staff, students, and commercial
         partners/affiliates of the University of Tennessee; and to contribute to the well-
         being of the State of Tennessee through economic development.
  The University of Tennessee Audit Report for The Year Ending June 30, 2014, STATE OF
  TENNESSEE COMPTROLLER OF THE TREASURY at 57 (January 20, 2015).

                 Since its inception as The University of Tennessee Research Corporation in 1935,

  UTRF has been actively involved in licensing patents whose technologies were first developed at

  The University of Tennessee. The University of Tennessee Research Corporation’s 1935 charter

  stated that its mission was “to promote, encourage and aid scientific social and/or educational

  investigation and research.”6 In furtherance of these objectives, the corporation was empowered

  “[t]o aid in the prosecution of applications for patents, registrations and/or copyrights, foreign and

  domestic . . . . To prosecute infringements or invasions of any patent, trade-mark, trade name,

  brand, label, copyright or patent right in which the corporation may be interested.”7




  6
     CHARTER OF INCORPORATION        OF   THE UNIVERSITY    OF   TENNESSEE RESEARCH CORPORATION
  (December 31, 1934).
  7
    Id.


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  Safer Aviation and Improved Fruits and Berries Also Engage the Ingenuity of American
  Inventors, N.Y. TIMES at 20 (June 10, 1944) (Describing a patent “issued to Brooks D. Drain of
  Knoxville, Tenn., on a ‘healthy, prolific strawberry plant variety’” and “assigned to the
  University of Tennessee Research Corporation.”).
                 In its first decades of existence, The University of Tennessee Research Corporation

  licensed technologies relating to cottonseed, fruit varieties, and water treatment.

         Of late, research on a small commercial scale is being carried on by the University
         of Tennessee Experiment Station and a University of Tennessee Research
         Corporation has been set up to license and control the use of the process. Here
         then we have a state institution of learning working with a federal government
         agency, a professional society, a trade association, and private capital all working
         together for a common purpose now by the upbuilding of regional agricultural
         economy.”8
         The largest manufacturer of cottonseed manufacturing equipment in the United
         States has applied for a license under royalty to be paid to the University of
         Tennessee Research Corporation.9
         The University of Tennessee Research Corporation licenses manufacturers to make
         equipment resulting from the research work for which a patent has been obtained
         or applied for.”10




  8
    THE UNIVERSITY OF TENNESSEE RECORD, Vol. 44, Issue 4 (1941).
  9
    UNITED STATES CONGRESS JOINT COMMITTEE HEARING ON THE TENNESSEE VALLEY AUTHORITY
  at 1451 (1939).
  10
     Statement of David E. Lilienthal, Chairman, Tennessee Valley Authority, TECHNOLOGICAL
  MOBILIZATION, HEARINGS BEFORE A SUBCOMMITTEE OF THE COMMITTEE ON MILITARY AFFAIRS
  OF THE UNITED STATES SENATE S. 2721 Vol. 3 at 910 (December 1942).


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                 More recently, UTRF has licensed technologies in various fields of technology,

  including important, lifesaving technologies. UTRF has recently licensed patents for a vaccine for

  group A streptococcus (Strep-A) and for treatments for prostate cancer.11

  CAELUM BIOSCIENCES, INC.

                 Caelum Biosciences, Inc. is a Delaware corporation with a principal place of

  business at 1200 Florence Road, Bordentown, New Jersey 08505. Caelum may be served with

  process by delivering a summons and a true and correct copy of this complaint to its registered

  agent for receipt of service of process, Incorporating Services, Ltd., 3500 S. DuPont Hwy, Dover,

  Delaware 19901. Caelum was first incorporated with the Delaware Secretary of State on June 10,

  2015.

                 Caelum was founded by Fortress Biotech, Inc. which is an investment company

  that acquires rights in pharmaceutical products. “Our operations have been limited to acquiring,

  developing and securing the proprietary rights for, and undertaking pre-clinical development and

  clinical trials of product candidates, and making investments in other companies.” FORTRESS

  BIOTECH 2017 ANNUAL REPORT at 15 (March 16, 2018).

                 Fortress Biotech, Inc. is a publicly traded company based in New York City, New

  York that has created a network of more than 10 “partner companies.” Caelum is one of these

  partner companies.

          Caelum Biosciences, Inc. (“Caelum”), founded by Fortress Biotech, is a clinical-
          stage biotechnology company developing treatments for rare and life-threatening
          diseases. Caelum’s lead asset, CAEL-101 (mAb 11-1F4), is a novel antibody for

  11
     James B. Dale, et al., Potential Coverage of a Multivalent M Protein-Based Group a
  Streptococcal Vaccine, VACCINE 31.12 (2013): 1576–1581 (“The University of Tennessee
  Research Corporation has licensed the technology to Vaxent, LLC.”); Tom Wilemon, Powerful
  Possibilities: GTx Scientists Battle Time, Regulatory Setbacks to Make it Big, MEMPHIS DAILY
  NEWS (May 17, 2010) (“The SARM patents, as well as Steiner’s research into tormifene for the
  prevention of prostate cancer, were licensed to GTx by the University of Tennessee.”).


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         the treatment of patients with amyloid light chain (“AL”) amyloidosis. Phase 1a/1b
         data presented at the American Society of Hematology’s 59th Annual Meeting in
         December 2017 support CAEL-101’s potential to be a safe and well-tolerated
         therapy that promotes amyloid resolution.
  Fortress Biotech Portfolio Companies – Caelum Biosciences, FORTRESS BIOTECH WEBSITE (last
  visited November 2019) (emphasis added), available at:
  https://www.fortressbiotech.com/portfolio-companies/caelum.cfm.

                    Caelum was founded by Fortress Biotech after employees and/or agents at Fortress

  Biotech identified the 11-1F4 technology as a “new technolog[y] with clinical and commercial

  potential.” Id.

                    In a 2018 interview, Michael Spector, Caelum’s C.E.O., disclosed that in 2016

  Fortress Biotech orchestrated to have Columbia University and Fortress Biotech execute a

  confidential option agreement to commercialize the 11-1F4 antibody.             This secret option

  agreement was never disclosed to UTRF despite UTRF having an Inter-Institutional Agreement

  for Invention Management relating to the 11-1F4 antibody.

        The original inventor Alan Solomon had the concept of directly treating the
        Amyloid deposits retired and transferred the program to Columbia University and
        Dr. Suzanne Lentzsch who was the principal investigator on the phase 1 trial. I had
        met Dr. Lentzsch probably in the first half of 2016 and I got to know her well and
        understand the work that she was doing with CAEL-101 at the time 11-1F4. There
        was some very very preliminary phase 1a data that had already been presented at
        the ASH meeting of 2015 which is the biggest hematology meeting in the United
        States. We were very excited about what we saw from the single dose portion of
        phase 1 . . . umm . . . and she was planning to present the full preliminary phase 1a
        data . . . sorry let me start over . . . Dr. Lynch was planning to present the phase 1a
        results as well as the phase 1b results at the ASH meeting in 2016. And so we had
        signed an agreement with Columbia University - an option agreement giving us the
        right prior to her presentation in 2016 because we saw the potential of this as a
        future treatment and we wanted to hit the ground running in 2017 after the ASH
        meeting. We exercised our option in early 2017."
  Caelum Biosciences CEO Michael Spector Interview: Looking for a Better Alternative to
  Chemotherapy for AL Amyloidosis, THE BIO REPORT TRANSCRIPT at 8:47-10:27 (2018)
  (emphasis added).

                    Fortress Biotech and its partner companies do not undertake original

  pharmaceutical research.        Rather, Fortress Biotech describes itself as an “innovative


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  biopharmaceutical company focused on identifying, in-licensing and developing high-potential

  clinical stage assets.” https://www.fortressbiotech.com/about-us/ (last visited November 2019).

  Fortress Biotech explains its investment philosophy as “therapeutic area agnostic . . . allowing

  [Fortress] to invest in a broad array of new technologies . . . .” Id.




  Fortress Biotech Portfolio Companies, FORTRESS BIOTECH WEBSITE, available at:
  https://www.fortressbiotech.com/portfolio-companies.cfm (last visited Nov. 2019).

                                        JURISDICTION AND VENUE

                  The United States District Court for the Eastern District of Tennessee has

  jurisdiction and venue over this matter because there is complete diversity and the amount in

  controversy exceeds $75,000 and UTRF is a non-profit 501(c)(3) organization residing in Knox

  County, Tennessee.

                  This Court has personal jurisdiction over Caelum based on Caelum’s purposeful

  activities directed to this District that give rise to the claims in this case.

                  Caelum has entered into agreements with UTRF and The University of Tennessee

  exclusively relating to 11-1F4, which give rise to the claims at issue in this case. For example, on

  March 14, 2017, Caelum, UTRF, and The University of Tennessee entered into a contract that


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  states, “This Agreement is deemed to have been made in the State of Tennessee, United States of

  America, and shall be interpreted and construed and any legal relations created hereunder shall be

  determined in accordance with the laws of the State of Tennessee without giving effect to any

  conflict of laws provisions thereof.” On July 22, 2019, Caelum entered into a research agreement

  with The University of Tennessee. The July 22, 2019 Agreement is signed by Susan Sobolov,

  Caelum’s Chief Operating Officer, and states “This Agreement is made and entered into in the

  State of Tennessee and its validity and interpretation and the legal relations of the parties shall be

  governed by the laws of the State of Tennessee.” The July 22, 2019 Agreement covers the

  “Preclinical Evaluation of Amyloid Binding and Opsonization Using the Chimeric 11-1F4

  Antibody.”

                 The 11-1F4 antibody and the data, property, and associated regulatory filings all

  originated with Dr. Alan Solomon, The University of Tennessee, and are all owned by UTRF. As

  Caelum acknowledges, “Alan Solomon, M.D., Professor of Medicine Emeritus and a former

  American Cancer Society Clinical Research Professor at the University of Tennessee Graduate

  School of Medicine[] pioneered early development of antibodies . . . and oversaw preclinical

  research on CAEL-101 [also known as 11-1F4].” Fortress Biotech forms a new subsidiary,

  Caelum Biosciences, Inc., to develop a novel treatment for AL Amyloidosis, PRESS RELEASE (Jan.

  4, 2017).

                 The 11-1F4 information and materials at issue in this case originated at The

  University of Tennessee. The President of Alexion Pharmaceuticals—a minority owner of Caelum

  and the owner of an option to acquire all of Caelum—explained in a 2019 presentation that Alexion

  decided to invest in Caelum based on Caelum providing “data” that had been “generated at the




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  University of Tennessee.” Caelum knew that a substantial quantity of the 11-1F4 data it had taken

  was from The University of Tennessee.

         So the reason we're really excited about CAEL-101 is it's an antibody that is
         specifically designed to bind to the kappa and lambda light chains of
         immunoglobulin. And when we looked at the data that the company had generated
         and researchers had generated in the University of Tennessee and at Columbia
         University and we looked at the in vivo imaging data, that gave us a lot of
         confidence because we could actually see that this antibody is binding to the
         amyloid deposits in the organs.
  Alexion Pharmaceuticals, Inc. Investor Day Presentation, CCBN FAIR DISCLOSURE WIRE
  TRANSCRIPT (March 20, 2019) (emphasis added).

                The sole focus and mission of Caelum is to commercialize the 11-1F4 technology,

  which it has renamed CAEL-101. Caelum’s website states: “Caelum was founded by Fortress

  Biotech in January 2017 to advance the clinical development of research from Alan Solomon,

  M.D., of the University of Tennessee Graduate School of Medicine, with the goal of improving

  treatment options for patients with AL amyloidosis.” About Caelum Biosciences, CAELUM

  BIOSCIENCES      WEBSITE       (last     visited    November        2019),      available     at:

  https://www.caelumbio.com/about/history/.     Upon its founding, Caelum’s parent company,

  Fortress Biotech, announced “the formation of a new subsidiary company, Caelum Biosciences,

  Inc., to advance the development of CAEL-101 (11-1F4).” Fortress Biotech forms a new

  subsidiary, Caelum Biosciences, Inc., to develop a novel treatment for AL Amyloidosis, PRESS

  RELEASE (Jan. 4, 2017) (emphasis added); see also Pipeline, CAELUM BIOSCIENCES WEBSITE (last

  visited February 2020), available at: https://www.caelumbio.com/pipeline/ (identifying only

  “CAEL-101,” (Caelum’s renaming of 11-1F4) as the only product in Caelum’s product pipeline).

                The claims in this case all arise from ownership claims to an antibody that Caelum

  itself recognizes was developed in and came from Tennessee.




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         Alan Solomon, M.D., Professor of Medicine Emeritus and a former American
         Cancer Society Clinical Research Professor at the University of Tennessee
         Graduate School of Medicine, who pioneered early development of
         antibodies that work to break up pre‐existing amyloid in tissues and oversaw
         preclinical research on CAEL‐101.
  Fortress Biotech Forms New Subsidiary, Caelum Biosciences, Inc., To Develop Novel Treatment
  For Al Amyloidosis, CAELUM PRESS RELEASE (January 4, 2017).

         Caelum was founded by Fortress Biotech in January 2017 to advance the clinical
         development of research from Alan Solomon, M.D., of the University of Tennessee
         Graduate School of Medicine, with the goal of improving treatment options for
         patients with AL amyloidosis.
  Caelum About / History, CAELUM BIOSCIENCES WEBSITE, available at:
  https://www.caelumbio.com/about/history/.

                Caelum’s interest and pursuit of the 11-1F4 technology has repeatedly taken it to

  Knoxville, Tennessee. Executives from Caelum have met with at least Drs. Solomon and Wall as

  well as UTRF personnel at University of Tennessee facilities on several occasions to discuss in-

  person various aspects of the 11-1F4 technology.

                Caelum executives traveled to Knoxville and conducted meetings with personnel

  from UTRF and/or The University of Tennessee on at least the following occasions: on September

  6, 2017, Caelum CEO Michael Spector met with personnel from both UTRF and The University

  of Tennessee; on October 11, 2017, Mr. Spector and additional Caelum personnel met with

  personnel from both UTRF and The University of Tennessee; and on November 8, 2019, Mr.

  Spector and Susan Sobolov, both of Caelum, met with personnel from The University of

  Tennessee. Each of these meetings occurred in conference room facilities at The University of

  Tennessee Medical Center, located in Knoxville, Tennessee.

                Caelum employees also attended the American Society of Echocardiography (ASE)

  29th Annual Scientific Session from June 22-26, 2018, in Nashville, Tennessee. There, Columbia

  University presented “a complete analysis of cardiac data from the Phase 1b trial of CAEL-101




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  (mAB11-1F4) for the treatment of relapsed or refractory amyloid light chain (‘AL’) amyloidosis”

  at the American Society of Echocardiography Scientific Sessions. Caelum Biosciences Announces

  Presentation of Complete Cardiac Data Analysis from Phase 1b Trial of CAEL-101 in AL

  Amyloidosis at American Society of Echocardiography 29th Annual Scientific Sessions, PRESS

  RELEASE (June 18, 2018).

                 Caelum has solicited and hired individuals located in this judicial District to serve

  on its scientific advisory board. For example, on February 22, 2018, Caelum entered into a

  Scientific Advisory Board Member Agreement with Dr. Alan Solomon. The Agreement identifies

  Dr. Solomon as residing in Knoxville, Tennessee and was executed by Caelum’s C.E.O., Michael

  Spector. The scientific advisory agreement was entered into for the purpose of commercializing

  the 11-1F4 technology, which is owned by Plaintiff UTRF, and which is at issue in this case.

                 Further highlighting Caelum’s ties to the State of Tennessee, and this judicial

  District in particular, Caelum has posted presentations on its website containing images taken from

  Dr. Solomon and Dr. Wall’s laboratory at The University of Tennessee. For example, a 2017

  presentation entitled “Personalizing Amyloidosis Therapy with Real Time PET Imaging of Fibril-

  Reactive Chimeric Antibody CAEL-101,” which is available on the Caelum website at:

  https://www.caelumbio.com/wp-content/uploads/2017/02/ASH-2018-12-3-Fu.pdf                  contains

  numerous images that are credited: “Alan Solomon and Jonathan Wall Lab.”

                 In addition to taking information, materials, and data out of this District, Caelum

  also sends materials into this District as part of its 11-1F4-related business. Pursuant to a 2019

  Research Agreement, Caelum sent c11-1F4 and control chimeric antibodies to researchers in

  Knoxville, Tennessee for testing. These materials are the subject of UTRF’s claim against




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  Caelum; Caelum’s own transmission of these materials into this judicial District confers this Court

  with jurisdiction over Caelum.

                 This Court has personal jurisdiction over Caelum in this action because Caelum has

  committed acts within the Eastern District of Tennessee giving rise to this action and has

  established minimum contacts with this forum such that the exercise of jurisdiction over Caelum

  would not offend traditional notions of fair play and substantial justice.

                                       FACTUAL BACKGROUND

  DEVELOPMENT OF THE 11-1F4 MONOCLONAL ANTIBODY TECHNOLOGY

                 Dr. Solomon and his colleagues at The University of Tennessee first created the 11-

  1F4 antibody and discovered its anti-amyloid effects in the mid-to-late 1990s. Dr. Solomon is

  presently a Professor Emeritus at The University of Tennessee Graduate School of Medicine.

  During his distinguished career as a leader in the fields of immunology and cancer research, Dr.

  Solomon held National Institutes of Health grants for four decades and led groundbreaking

  research efforts to find effective treatments for devastating, fatal diseases, including amyloidosis

  – a difficult-to-diagnose, fatal, and rare disease. In addition to Dr. Solomon’s leadership as an

  academic researcher, he has helped educate future generations of medical researchers and clinical

  physicians by serving as a Professor in the Department of Medicine and as the Director of the

  Human Immunology and Cancer Research Program within The University of Tennessee’s

  Graduate School of Medicine. Dr. Solomon also helped countless patients through his decades-

  long clinical medical practice.

                 Among Dr. Solomon’s research interests is the treatment of amyloidosis, a rare

  disease in which amyloids build up over time on critical human organs, such as the heart, brain,

  liver, and kidneys. Amyloidosis is often fatal as it leads to deterioration, and eventually organ

  failure. Patients often have as little as 9-36 months to live after being diagnosed with amyloidosis.


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                 Shortly after Dr. Solomon and his colleagues’ discovery of the anti-amyloid effects

  of the 11-1F4 antibody, Dr. Solomon and his colleagues Drs. Rudi Hrncic and Jonathan Wall filed

  a patent application that led to U.S. Patent No. 8,105,594. This patent covered certain methods of

  amyloid removal using anti-amyloid antibodies.

                 UTRF’s predecessor, The University of Tennessee Research Corporation

  (“UTRC”) promptly took ownership of not only the patent rights, but the 11-1F4 property rights

  and all know-how relating to the synthesizing and use of the antibody were transferred to UTRC

  by Dr. Solomon and his colleagues. Drs. Solomon, Hrncic and Wall filed invention disclosures

  and executed agreements and assignments assigning all 11-1F4 property rights to UTRC.

                 The 11-1F4 property rights and know-how transferred to UTRC by Drs. Solomon,

  Hrncic, and Wall’s agreements and assignments include: all 11-1F4 antibody products (including

  all non-human, chimeric, humanized, and human versions, as well as analogs, variants, fragments

  of such versions), formulations, and conjugates thereof; the chimeric 11-1F4 antibody; cell clones

  utilized in the production of the chimeric 11-1F4 antibody; all know-how associated with the

  development and use of the antibody products, including the results, data, information and

  materials relating to antigens, antibodies, and cell lines necessary or useful for development or

  commercialization of the 11-1F4 antibody products; research data utilized in the Investigational

  New Drug application file submitted with the U.S. Food and Drug Administration in connection

  with an approval request for 11-1F4 therapies (including IND No. 117,316 entitled, “Chimeric

  Monoclonal Antibody 11-1F4”); and the Orphan Drug Designations for 11-1F4 issued by the U.S.

  Food and Drug Administration.

                 In 2003, UTRC was reorganized into UTRF. UTRF is the owner of all right, title,

  and interest in the 11-1F4 technology identified in the preceding paragraph.




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  THE 11-1F4 ANTIBODY IS DESIGNATED AN ORPHAN DRUG

                In 2009, Dr. Solomon applied for and received two different orphan drug

  designations for two indications of the 11-1F4 antibody (“the 11-1F4 Orphan Drug Designations”).

                The 11-1F4 Orphan Drug Designations have considerable value. The 11-1F4

  Orphan Drug Designations provide the holder a variety of financial and tax incentives, the most

  significant of which is a seven-year market exclusivity period for 11-1F4 therapies that receive

  market approval by the U.S. Food and Drug Administration for indications covered by the orphan

  drug designations.

                In December 2009, the U.S. Department of Health and Human Services granted

  orphan-drug designation request #09-2937, which provides orphan-drug designation of

  monoclonal antibody 11-1F4 for use as a radioimmunoimaging agent in amyloidosis pursuant to

  21 U.S.C. § 260bb.

                Also in December 2009, the U.S. Department of Health and Human Services

  granted orphan-drug designation request #09-2903, which provides orphan-drug designation of

  monoclonal antibody 11-1F4 for use as a therapeutic agent in amyloidosis pursuant to 21 U.S.C.

  § 360bb.

                Orphan drug designations covering 11-1F4 (those granted in response to

  designation request #09-2937 and #09-2903) are collectively referred to herein as “11-1F4 Orphan

  Drug Designations.” As the owner of the 11-1F4 property rights and know-how, UTRF is the

  rightful owner of the 11-1F4 Orphan Drug Designations.

                As the sponsor of the research efforts relating to 11-1F4, Dr. Solomon applied for

  and received the 11-1F4 Orphan Drug Designations. UTRF’s ownership rights in the 11-1F4

  Orphan Drug Designations arises from Dr. Solomon’s and his colleagues’ express, written

  assignment of all property rights relating to the 11-1F4 technology to UTRC and because all


                                                                   Page 17 of 52
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  inventors and researchers working on the development of 11-1F4 were subject to The University

  of Tennessee Statement of Policy on Patents, Copyrights, and Other Intellectual Property during

  their work on 11-1F4.

                 In the years immediately subsequent to Dr. Solomon’s discovery, UTRC entered

  into negotiations with several pharmaceutical companies relating to the development of

  amyloidosis therapies derived from the 11-1F4 antibody. In addition to patent rights, potential

  industry partners specifically inquired into licensing and utilizing the totality of the 11-1F4

  property rights and know-how with the goal of commercializing therapies utilizing the 11-1F4

  antibody.   For example, at least four separate large, sophisticated pharmaceutical and

  biopharmaceutical companies engaged in due diligence to explore the potential to enter into an

  agreement with UTRF regarding the 11-1F4 technology.

  THE NATIONAL CANCER INSTITUTE ASSISTS WITH THE DEVELOPMENT OF THE 11-1F4
  TECHNOLOGY

                 In 2011, The University of Tennessee and the National Cancer Institute (“NCI”)

  entered into a Material Transfer Agreement pursuant to the NCI’s Experimental Therapeutics

  Program (“NExT”).       Pursuant to this Material Transfer Agreement, Dr. Solomon and his

  colleagues sent to NCI murine versions of the 11-1F4 antibody along with data from their research.

  NCI and its subcontractor, AERES Biomedical Ltd., agreed to prepare chimeric versions of the

  11-1F4 antibody and transfer back to Dr. Solomon and his team the chimeric version of the 11-

  1F4 antibody as well as any project data generated through NCI’s work on the project. The

  Material Transfer Agreement confirmed that the original murine version of the 11-1F4 antibody

  as well as the chimeric version generated by NCI and any data and know-how regarding NCI’s

  work on the 11-1F4 antibody would remain the property of The University of Tennessee. The




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  University of Tennessee’s rights in the 11-1F4 property rights and know-how were transferred to

  and are owned by UTRF.

                 Pursuant to the NCI NExT Material Transfer Agreement, NCI retained the right to

  utilize the material and information it received from Dr. Solomon as well as the chimeric antibody

  product and associated research data generated by NCI; however, only for non-commercial, non-

  profit purposes relating to NCI’s clinical research. NCI further retained the right to supply the

  chimeric version of the 11-1F4 antibody and provide the research data generated by NCI to third-

  party non-profit institutions, but solely for non-commercial, non-profit purposes.

                 To the extent any of the 11-1F4 property rights and/or know-how utilized by

  Caelum were either directly or indirectly supplied by NCI, Caelum’s receipt and use of that

  material was unauthorized by both UTRF and NCI.

  DR. SOLOMON’S CONTINUED WORK TO DEVELOP TREATMENTS BASED ON 11-1F4

                 In 2013, Dr. Solomon began collaborating with Dr. Suzanne Lentzsch of Columbia

  University to assist with the clinical development of the 11-1F4 technology. At that time, UTRF

  personnel began working with employees of Columbia University’s technology transfer office,

  Columbia Technology Ventures.

                 UTRF and Columbia Technology Ventures put into place an Inter-Institutional

  Agreement (“IIA”) between UTRF and Columbia University in December 2013. Pursuant to that

  IIA, Columbia University had a license (and the ability to sublicense) only the patent rights

  covering the 11-1F4 technology.

                 At the time, there was a granted United States patent (U.S. Patent No. 8,105,594)

  and a granted Mexico patent relating to certain methods of using the 11-1F4 antibody to treat

  amyloidosis. The IIA did not provide Columbia University with the ability to sublicense or out-

  license any of the 11-1F4 property rights or know-how (e.g., the physical antibody materials,


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  protein sequences, or research data regarding the 11-1F4 antibodies) or to assign any

  Investigational New Drug applications relating to 11-1F4 nor the 11-1F4 Orphan Drug

  Designations. The IIA expressly excluded any license to the know-how related to the 11-1F4

  antibody held by UTRF.

                 Pursuant to the IIA, any net consideration received by the joint venture between

  UTRF and Columbia University was to be split evenly between UTRF and Columbia.

                 Dr. Solomon and his colleagues sent to Dr. Lentzsch 11-1F4 antibody materials

  along with a variety of project data, including the protocol and data used for an Investigational

  New Drug application with the U.S. Food and Drug Administration.

  UTRF AND COLUMBIA NEGOTIATE A POTENTIAL AMENDMENT TO THEIR IIA

                 Between 2014 and early 2016, UTRF and Columbia Technology Ventures

  conducted extensive negotiations and exchanged draft agreements relating to an amendment to the

  IIA that would have covered not only the patent rights relating to the 11-1F4 technology, but to all

  11-1F4 physical materials and know-how.

                 In connection with performing diligence supporting a contemplated amendment of

  the IIA to include a license to the use of the 11-1F4 property rights and know-how, including the

  chimeric 11-1F4 antibodies along with all associated know-how and data, personnel from

  Columbia Technology Ventures and UTRF discussed via email and telephonic conference calls on

  several occasions UTRF’s ownership of the 11-1F4 property rights and know-how by way of Dr.

  Solomon and his colleagues’ invention assignment and UTRF’s ownership of the chimeric 11-1F4

  antibody and associated know-how generated by NCI.

                 At no time during these communications did anyone from Columbia Technology

  Ventures raise any question or issues challenging UTRF’s ownership rights in the property rights

  and know-how relating to 11-1F4.


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  CAELUM INTERFERES WITH THE ONGOING NEGOTIATIONS BETWEEN COLUMBIA AND UTRF

                 In late 2015, personnel at Columbia Technology Ventures first raised with UTRF

  the prospect that a company may be interested in licensing the 11-1F4 technology. The fact that

  this unnamed potential licensee would want a license to the 11-1F4 property rights and know-how,

  was explained as an additional reason Columbia University and UTRF should amend the IIA to

  include all rights to 11-1F4, including property and know-how rights.

                 As UTRF would later learn, during this same time period, Caelum was formed by

  Fortress Biotech, Inc., and employees and/or agents of Caelum began conducting secret

  discussions with Columbia University employees and/or agents. UTRF was not a party to these

  secret discussions.

                 Ultimately, the proposed amendment to the IIA between UTRF and Columbia

  University was never executed.

                 Caelum was informed of the status of the negotiations between UTRF and

  Columbia University relating to the potential amendment of the IIA to include all 11-1F4 property

  rights and know-how such that Columbia University and UTRF would be equal partners on the

  development of the 11-1F4 technology and share equally in any revenues derived from the

  commercialization of therapies incorporating the 11-1F4 antibodies.

                 Despite the fact that the IIA was never amended to cover the 11-1F4 property rights

  and know-how, in 2017, Caelum began publishing press releases containing false statements

  regarding the ownership of the 11-1F4 technology, false disclosures on its website, and, on

  information and belief, false disclosures with the U.S. Food and Drug Administration claiming

  that it had licensed the 11-1F4 technology from Columbia University and that Caelum is now the

  owner of the 11-1F4 Orphan Drug Designations.




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                 On information and belief, Caelum is obligated to indemnify Columbia University

  for any damages arising out of its commercialization of the 11-1F4 technology and/or any misuse

  of the 11-1F4 property rights and know-how.

  THE CAELUM-UTRF AGREEMENT PROHIBITS CAELUM FROM USING 11-1F4 PROPERTY
  WITHOUT UTRF’S WRITTEN AUTHORIZATION

                 On March 14, 2017, Caelum entered into a Confidentiality Agreement with UTRF

  and The University of Tennessee so that the parties could exchange information in connection with

  a potential sponsored research agreement involving UTRF’s 11-1F4 technology. Under this March

  14, 2017 Agreement, Caelum agreed that it would not, “except to the extent authorized by [UTRF]

  in writing . . . undertake research, development, or trials with respect to” tangible property relating

  to the acceleration of amyloid removal by anti-amyloid monoclonal antibodies.

                 While Caelum had UTRF’s proprietary research materials prior to the execution of

  the March 14, 2017 Agreement, that research material is expressly governed by the subsequent

  March 14, 2017 Agreement: “Notwithstanding the foregoing, it is agreed that [the restrictions

  entered into in the Confidentiality Agreement] shall not apply to any INFORMATION which . . . is

  already legally known to the RECEIVING PARTY at the time of disclosure by the DISCLOSING PARTY

  and was not acquired, directly or indirectly from the DISCLOSING PARTY . . . .” (emphasis added).

  Caelum agreed that it would not utilize the research materials and information received “directly

  or indirectly” from UTRF, even the information received prior to executing the March 14, 2017

  Agreement, absent written authorization.

                 In response to the March 2, 2017 email from Columbia explaining that the

  technology described in the IIA was not licensed despite a purported agreement relating to 11-1F4

  between Columbia and Caelum, UTRF indicated to Columbia that it wished to terminate the IIA

  pursuant to the terms of that agreement.



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                Despite Caelum signing a Confidentiality Agreement agreeing not to utilize 11-1F4

  property rights and know-how without written authorization from UTRF, Caelum has proceeded

  to utilize the 11-1F4 property rights and know-how in an effort to commercialize the technology.

                UTRF has provided Caelum no written authorization for the use of its 11-1F4

  property rights and know-how.

                Caelum purports to utilize the 11-1F4 property rights and know-how under license

  from Columbia University.

                The IIA between Columbia University and UTRF has been terminated, and at no

  time when the IIA was in effect did Columbia University have authority to license anything other

  than the patent rights associated with 11-1F4. Columbia University has never had the ability to

  sublicense or otherwise grant licenses to the use of any of the 11-1F4 property rights and know-

  how for commercial use.

                On information and belief, Caelum has used and continues to utilize 11-1F4

  materials that are the property of UTRF, including but not limited to: murine 11-1F4 materials;

  chimeric 11-1F4 materials; cell clones utilized in the production of chimeric 11-1F4 antibodies,

  and ELISA reagents. On information and belief, Caelum has also used and continues to utilize

  UTRF’s research data, clinical trial and laboratory testing protocols, and documentation

  incorporated into the Investigational New Drug applications for therapies incorporating the 11-

  1F4 monoclonal antibody. Caelum’s use of the 11-1F4 property rights and know-how is without

  written authorization from UTRF and Caelum has not compensated UTRF for its use of these

  materials.

                Further, on April 5, 2017, Caelum announced in a press release that it had acquired

  from Columbia University the 11-1F4 Orphan Drug Designations.




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                  Columbia University does not and did not own the 11-1F4 Orphan Drug

  Designations. Caelum is wrongfully and illegally in possession of the 11-1F4 Orphan Drug

  Designations.

                  Caelum’s claims about the 11-1F4 technology being licensed to Columbia by The

  University of Tennessee have been widely disseminated within the industry to the detriment of

  UTRF. On March 21, 2017, at the Oppenheimer Healthcare Conference, Gene Kinney, the

  President and C.E.O. of Prothena Corporation plc, stated, “11-1F4 is an interesting antibody. That

  antibody started in Allen Solomon's lab at the University of Tennessee, Knoxville. . . . [B]ut

  ultimately [] that antibody moved to Columbia . . . What we've seen is that that antibody was

  recently licensed out of Columbia. We saw a press release suggesting that right now, they are in

  the process of making more clinical material and it looks like expecting to start some clinical trials

  now in 2018.” Prothena Corporation PLC at Oppenheimer Healthcare Conference, CCBN FAIR

  DISCLOSURE WIRE TRANSCRIPT (March 21, 2017) (emphasis added).

                  Caelum has widely published its false claim that it is the licensor of 11-1F4 within

  the pharmaceutical industry news. Industry press has unwittingly perpetuated the falsehood that

  Caelum licensed 11-1F4 from Columbia based on a purported transfer of the research program

  from The University of Tennessee to Columbia. “Startup incubator Fortress Biotech launched

  Caelum in 2017 after licensing the anti-amyloid antibody they now call CAEL-101 from Columbia

  based on research by Alan Solomon of the University of Tennessee Graduate School of Medicine.

  Breaking from the old approach, which focuses on blocking production of new amyloids, he

  designed the therapy to break up pre-existing amyloid deposits clogging up in tissues to damage

  patients’ organs, particular hearts and kidneys.” Amber Tong, Alexion Lines Up A $60M Option

  To Buy Fortress-Incubated Biotech Focused On A Lucrative Rare Blood Disease, ENDPOINTS




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  NEWS (Jan. 31, 2019), available at: https://endpts.com/alexion-lines-up-a-60m-option-to-buy-

  fortress-incubated-biotech-focused-on-a-lucrative-rare-blood-disease/.

  CAELUM’S UNJUST ENRICHMENT

                 The entirety of Caelum’s business is dedicated to the development of Dr.

  Solomon’s 11-1F4 technology. Caelum solely identifies the 11-1F4 antibody (which it has

  renamed “CAEL-101”) and the clinical trials relating to that antibody as its product pipeline. See

  Pipeline, CAELUM BIOSCIENCES WEBSITE, available at: https://www.caelumbio.com/pipeline/.

                 With nothing more than its development of UTRF’s 11-1F4 antibody, Caelum’s

  majority shareholder presently estimates a “fair value” of Caelum at “$11.2 million.” FORTRESS

  BIOTECH,    INC.    SEC     FORM     10-Q    at   14    (Nov.     12,    2019),   available    at:

  http://www.snl.com/Cache/c400965120.html.

                 Moreover, Caelum’s work with the 11-1F4 antibody has enabled it to secure an

  agreement with Alexion Pharmaceuticals, Inc. entitling Caelum to at least $60 million with

  “potential additional payments of up to $500 million.” Alexion and Caelum Biosciences

  Announce Collaboration to Develop Targeted Therapy for Light Chain (AL) Amyloidosis, PRESS

  RELEASE (Jan. 31, 2019), available at:

  https://www.businesswire.com/news/home/20190131005293/en/Alexion-Caelum-Biosciences-

  Announce-Collaboration-Develop-Targeted.

                 Caelum’s founder, Fortress Biotech, recognizes the Alexion agreement as one of

  Fortress Biotech’s two most prominent “Near-term Monetization Opportunities.”




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  FORTRESS BIOTECH CORPORATE PRESENTATION at 9 (Nov. 2019), available at:
  http://ir.fortressbiotech.com/Cache/1500125276.PDF?O=PDF&T=&Y=&D=&FID=1500125276
  &iid=4308955.

                                             COUNT I
                                        BREACH OF CONTRACT

                  UTRF incorporates by reference the preceding paragraphs of this Complaint as if

  fully set forth herein.

                  On March 14, 2017, UTRF and Caelum entered into an agreement whereby Caelum

  agreed not to use, inter alia, any “tangible materials” for “research, development, or trials” relating

  to the acceleration of amyloid removal by anti-amyloid monoclonal antibodies “except to the

  extent authorized by [UTRF] in writing.”

                  The March 14, 2017 Agreement was signed and executed by Caelum’s chief

  executive officer and the vice president of UTRF.

                  Caelum has used UTRF’s tangible materials without written authorization from

  UTRF. The tangible materials used by Caelum without authorization are (1) the chimeric 11-1F4

  antibody and (2) cell clones utilized in production of the chimeric 11-1F4 antibody (collectively,

  the “11-1F4 Tangible Materials”).


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                  The chimeric 11-1F4 antibody used by Caelum is not a trade secret but is the

  property of UTRF.

                  The cell clones utilized in production of chimeric 11-1F4 antibodies are not trade

  secrets but are the property of UTRF.

                  In exchange for agreeing not to use UTRF’s 11-1F4 Tangible Materials without

  written authorization, Caelum received material and information of value from UTRF.

                  Following execution of the March 14, 2017 Agreement, the parties exchanged

  information and material covered by the Agreement.

                  Caelum breached the March 14, 2017 Agreement it entered into with UTRF through

  the use of the 11-1F4 Tangible Materials without written authorization.

                  As a direct result of Caelum’s improper use of the 11-1F4 Tangible Materials,

  UTRF has been harmed and will continue to be harmed.

                  For example, Caelum’s continued improper use of the 11-1F4 Tangible Materials

  has prevented UTRF from commercializing the 11-1F4 technology through joint efforts with

  Columbia University and/or through collaborations with third-party industry partners.

                  As a direct result of Caelum’s continued improper use of the 11-1F4 Tangible

  Materials, UTRF has suffered damages in an amount to be proven at trial.

                  UTRF respectfully requests judgment against Caelum for breach of the March 14,

  2017 Agreement arising from Caelum’s improper use of the 11-1F4 Tangible Materials.


                                              COUNT II
                                            CONVERSION

                  UTRF incorporates by reference the preceding paragraphs of this Complaint as if

  fully set forth herein.




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                 Pursuant to Dr. Solomon and Dr. Solomon’s research colleagues’ express

  assignment of all rights relating to the 11-1F4 technology to UTRF and pursuant to the Material

  Transfer Agreement with NCI, UTRF is the sole owner of (1) the chimeric 11-1F4 antibody, (2)

  cell clones utilized in production of the chimeric 11-1F4 antibody, and (3) the 11-1F4 Orphan

  Drug Designations (collectively, the “11-1F4 Converted Property”).

                 The 11-1F4 Converted Property are tangible, physical property. Specifically, the

  chimeric 11-1F4 antibody has a fixed physical form. The chimeric 11-1F4 antibody is packaged

  in vials typically containing 5mL or 10mL of solution. The cell clones utilized in production of

  chimeric 11-1F4 antibodies also have a tangible, physical form that can be shipped and transferred.

                 The 11-1F4 Converted Property are physical property owned by UTRF.

                 By taking control of the development and commercialization efforts of the 11-1F4

  antibody therapies developed by Dr. Solomon and his University of Tennessee colleagues, and on

  information and belief, by entering into contracts with Columbia University wherein Caelum is

  provided with the right to control and direct the ongoing clinical trials on the 11-1F4 antibody

  products under development, Caelum has exercised and continues to exercise dominion and

  control over the 11-1F4 Converted Property.

                 Further, by improperly effecting the transfer of the 11-1F4 Orphan Drug

  Designations to its own possession, Caelum is exercising dominion and control over the 11-1F4

  Orphan Drug Designations.

                 Caelum has, and at all relevant times, had knowledge that UTRF possesses all right,

  title, and interest in the 11-1F4 Converted Property.

                 Caelum knows that Dr. Solomon and his University of Tennessee colleagues

  invented the 11-1F4 technology. Caelum’s own website acknowledges Dr. Alan Solomon of The




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  University of Tennessee Graduate School of Medicine as the “pioneer[]” who developed the 11-

  1F4      antibody.           See       History,     CAELUM         WEBSITE,      available    at:

  https://www.caelumbio.com/about/history/. Caelum refers to the 11-1F4 monoclonal antibody as

  “[h]is” when discussing Dr. Solomon’s work. Id.

                 Caelum had knowledge that Dr. Solomon and his colleagues assigned all rights in

  the 11-1F4 Converted Property to UTRF.

                 For example, The University of Tennessee Statement of Policy on Patents,

  Copyrights,     and     Other      Intellectual   Property    is     publicly    available   (see

  https://utrf.tennessee.edu/PDF/IP_Policy.PDF) and requires University of Tennessee faculty and

  staff to assign title to inventions and creations of commercial value to UTRF.

                 Moreover, on information and belief, Caelum was aware that Columbia University

  had an IIA in place with UTRF regarding the joint development and ownership of the 11-1F4

  Converted Property.

                 On information and belief, Caelum requested that Columbia not amend its IIA with

  UTRF.

                 Despite Caelum’s knowledge that UTRF is the rightful owner of the 11-1F4

  Converted Property, Caelum published false information supporting its claim that it allegedly has

  the right to utilize the 11-1F4 Converted Property in an effort to commercially develop an 11-1F4

  amyloidosis therapy.

                 For example, Caelum falsely claims on its website that “Dr. Solomon’s team

  transferred the program to Columbia University (‘Columbia’) . . . .” History, CAELUM WEBSITE,

  available at: https://www.caelumbio.com/about/history/.




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                On information and belief, Caelum knows this statement to be false because

  Caelum was aware of the joint development efforts between UTRF and Columbia University, as

  memorialized by the IIA.

                Caelum also states on its website that “Caelum secured worldwide license rights

  for CAEL-101 [its renaming of 11-1F4] from Columbia in January 2017.”




  Alexion and Caelum Biosciences Announce Collaboration to Develop Targeted Therapy for
  Light Chain (AL) Amyloidosis, PRESS RELEASE (January 31, 2019) (emphasis added), available
  at: https://www.caelumbio.com/alexion-and-caelum-biosciences-announce-collaboration-to-
  develop-targeted-therapy-for-light-chain-al-amyloidosis

                On information and belief, Caelum knows this statement to be false because it

  knows that the IIA between Columbia University and UTRF was never amended to include the

  11-1F4 Converted Property and that the IIA has been terminated.

                Despite Caelum’s knowledge that UTRF is the rightful owner of the 11-1F4

  Converted Property, and that it is not licensed to use the 11-1F4 Converted Property, Caelum

  continues to exercise dominion and control over the 11-1F4 Converted Property.

                On information and belief, the 11-1F4 Converted Property developed by Dr.

  Solomon are presently within the possession, custody, or control of Caelum.


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                  On information and belief, the 11-1F4 Orphan Drug Designations are presently

  within the possession, custody, or control of Caelum.

                  Caelum’s continued unlicensed, uncompensated dominion and control of the 11-

  1F4 Converted Property is contrary to UTRF’s rights, title, and interest in the 11-1F4 Converted

  Property.

                  As a direct result of Caelum’s conversion of UTRF’s property, UTRF has been

  harmed, and will continue to be harmed.

                  As a result of Caelum’s conversion of UTRF’s property, UTRF has suffered

  damages in an amount to be proven at trial. UTRF respectfully requests judgment against Caelum

  for conversion of UTRF’s property.


                                           COUNT III
                                        SLANDER OF TITLE

                  UTRF incorporates by reference the preceding paragraphs of this Complaint as if

  fully set forth herein.

                  Pursuant to Dr. Solomon and Dr. Solomon’s research colleagues’ express

  assignment of all rights relating to the 11-1F4 technology to UTRF and pursuant to the Material

  Transfer Agreement with NCI, UTRF is the sole owner of (1) the chimeric 11-1F4 antibody, (2)

  cell clones utilized in production of the chimeric 11-1F4 antibody, and (3) the 11-1F4 Orphan

  Drug Designations (collectively, the “11-1F4 Slandered Property”).

                  The 11-1F4 Slandered Property are property owned by UTRF.

                  Caelum has repeatedly published in press releases and on its website false

  statements about the title to the 11-1F4 Slandered Property. Specifically, Caelum has repeatedly

  published statements suggesting that Columbia University has title and ownership of the 11-1F4




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  Slandered Property, and that Caelum has obtained a license to the commercial use of the 11-1F4

  technology, including the 11-1F4 Slandered Property.

                 Caelum published on its website that “Dr. Solomon’s team transferred the program

  to Columbia University (‘Columbia’) . . . .”            History, CAELUM WEBSITE, available at:

  https://www.caelumbio.com/about/history/. This statement is false. Neither Dr. Solomon nor

  UTRF transferred any ownership interest in the 11-1F4 Slandered Property to Columbia

  University. Rather, UTRF and Columbia University entered into an IIA for the joint development

  of the technology. That IIA never provided Columbia University with any ownership interest in

  the 11-1F4 Slandered Property, and that IIA has been expressly terminated by the parties.

                 Caelum states on its website that “Caelum secured worldwide license rights for

  CAEL-101 [its renaming of 11-1F4] from Columbia in January 2017.” Id. This statement is false.

  Caelum has not secured worldwide license rights for 11-1F4 from Columbia because Columbia

  University did not own title to the 11-1F4 Slandered Property.

                 Caelum has submitted false statements regarding its ownership of the 11-1F4

  Orphan Drug Designations to the U.S. Food and Drug Administration (FDA).

                 Pursuant to 21 C.F.R. § 316.27(a)(2)(i), (iii), for Caelum to take ownership of the

  11-1F4 Orphan Drug Designations, Caelum was required to submit statements to the FDA

  identifying “[t]he date that the change in ownership or assignment of rights is effective” and “[a]

  specific description of the rights that have been assigned . . . .” Id.

                 Presently, Caelum is listed as the Sponsor for the 11-1F4 Orphan Drug

  Designations with the FDA.




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  Search Orphan Drug Designations and Approvals, FDA WEBSITE, available at:
  https://www.accessdata.fda.gov/scripts/opdlisting/oopd/listResult.cfm (last visited Nov. 2019)
  (emphasis added).

                Because Caelum does not own any right, title, and interest, including any valid

  license to, the 11-1F4 Orphan Drug Designations, on information and belief, Caelum submitted

  statements containing false information to the FDA in an effort to take possession of the 11-1F4

  Orphan Drug Designations.

                In repeatedly publishing false statements stating that Columbia University, and not

  UTRF, owned the 11-1F4 technology and suggesting that Caelum enjoys a license to commercially

  develop the 11-1F4 Slandered Property, Caelum was acting maliciously.

                Caelum’s recognition of The University of Tennessee’s role in the development of

  11-1F4 and its statement that The University of Tennessee “really initiated the whole development




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  process of treatments to attack the Amyloid” while simultaneously making false claims about

  Caelum’s ownership of 11-1F4 is malicious.

                 On information and belief, Caelum knew that the statements it has published

  clouding UTRF’s ownership interest in the 11-1F4 Slandered Property were false at the time they

  were published.

                 For example, Caelum knows that Dr. Solomon and his colleagues were employed

  as full-time faculty members at The University of Tennessee and were subject to The University

  of Tennessee Statement of Policy on Patents, Copyrights, and Other Intellectual Property.

  Accordingly, Caelum knew that UTRF owned all right, title, and interest in the 11-1F4 Slandered

  Property developed by Dr. Solomon and his colleagues.

                 On information and belief, Caelum knew of the joint development efforts between

  UTRF and Columbia University, as memorialized by the IIA between Columbia University and

  UTRF.

                 On information and belief, Caelum knows that the IIA between Columbia

  University and UTRF was never amended to include the 11-1F4 Slandered Property and that the

  IIA has been terminated.

                 On information and belief, based on the requests of UTRF in connection with

  negotiations between Columbia University and UTRF regarding a possible amendment of the IIA

  to include the materials and know-how relating to the development of the 11-1F4 antibody

  therapies, Caelum decided that it could commercialize the 11-1F4 technology on more favorable

  financial terms by excluding UTRF from the licensing discussions.

                 Accordingly, rather than allowing Columbia University and UTRF to continue their

  good-faith negotiations regarding the amendment of the IIA, and rather than engaging directly with




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  UTRF in negotiations for a license to commercialize the 11-1F4 technology, Caelum, on

  information and belief, requested that Columbia not amend its IIA with UTRF.

                    On information and belief, Caelum undertook a campaign of publishing false

  statements suggesting that Columbia University, and not UTRF, had proper ownership and title of

  the 11-1F4 Slandered Property, and that Columbia University could therefore grant the favorable

  licensing terms sought by Caelum.

                    On information and belief, Caelum is obligated to indemnify Columbia University

  for any damages arising out of its commercialization of the 11-1F4 technology and/or any misuse

  of the 11-1F4 property rights and know-how.

                    As a direct result of Caelum’s false statements regarding the ownership of the 11-

  1F4 Slandered Property (including the 11-1F4 Orphan Drug Designations), UTRF has suffered

  financial loss.

                    For example, Caelum’s public representations that it has licensed all 11-1F4

  property and that it owns the 11-1F4 Orphan Drug Designations has prevented UTRF from

  commercializing the 11-1F4 technology through joint efforts with Columbia University and/or

  through collaborations with third-party industry partners.

                    Further, Caelum’s false statements to the pharmaceutical industry and the U.S.

  FDA necessitated this litigation. If UTRF simply resorted to publishing statements of its own

  insisting that it indeed is the rightful owner of the 11-1F4 Slandered Property, UTRF would not be

  able to enjoy its full right, title, and interest in the 11-1F4 Slandered Property. Without filing the

  instant action, UTRF risked losing its ability to recover damages for the misuse of its proprietary

  technology by operation of law. Accordingly, UTRF was required to hire counsel and undertake




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  the costs of attorneys’ fees and litigation expenses to protect its right, title, and interest in the 11-

  11-1F4 Slandered Property (including the 11-1F4 Orphan Drug Designations).

                  Caelum forced UTRF into Court; UTRF’s attorneys’ fees and litigation expenses

  in litigating this case were directly and proximately caused by Caelum’s malicious publication of

  false statements regarding title to the 11-1F4 Slandered Property.

                  As a direct result of Caelum’s malicious publication of false statements regarding

  title to the 11-1F4 Slandered Property, UTRF has suffered damages in an amount to be proven at

  trial.

                  UTRF respectfully requests judgment against Caelum for slander of title due to its

  malicious publication of false statements regarding title to the 11-1F4 Slandered Property.


                                     COUNT IV
     TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIP WITH COLUMBIA UNIVERSITY

                  UTRF references and incorporates by reference the preceding paragraphs of this

  Complaint as if fully set forth herein.

                  Prior to Caelum’s formation, UTRF had an existing business relationship with

  Columbia University. UTRF and Columbia University executed an Inter-Institutional Agreement

  (“IIA”) in December 2013 – approximately a year and a half before Caelum was formed as a

  corporation with the Delaware Secretary of State.

                  Caelum has, and at all relevant times, had knowledge that UTRF had a business

  relationship with Columbia University.

                  On information and belief, Caelum was aware that Columbia University had an IIA

  in place with UTRF regarding the joint development of the 11-1F4 technology.

                  On information and belief, Caelum requested that Columbia not amend its IIA with

  UTRF.


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                 Caelum intended to cause a breach or termination in the business relationship

  between Columbia and UTRF. Specifically, Caelum’s C.E.O. stated that in 2016 that Caelum

  caused Columbia to enter into a secret option agreement relating to the commercialization of the

  11-1F4 antibody.

                 Prior to Caelum conducting secret meetings with Columbia University and

  Columbia Technology Ventures personnel, negotiations toward an amended IIA that would make

  Columbia University and UTRF partners in any license to the 11-1F4 technology were proceeding

  in good-faith toward the common goal of advancing the 11-1F4 technology to the benefit of

  patients suffering with amyloidosis and to the benefit of The University of Tennessee and

  Columbia University.

                 For example, in February 2016, a Columbia Technology Ventures employee

  emailed UTRF personnel a draft amendment to the IIA that would have provided UTRF with a

  share of proceeds recognized by the joint venture based on any licenses to 11-1F4. In that draft

  amendment to the IIA, Columbia proposed a definition of the licensed 11-1F4 Know-How as,

  “Any Know-How associated with the Patent Rights and Materials related to the 11-1F4 as a

  diagnostic or therapeutic.”

                 In a subsequent email, also in February 2016, Columbia Technology Ventures

  explained that Columbia desired to be partners with UTRF with respect to any subsequent

  modifications of the 11-1F4 technology. The draft amendment to the IIA circulated by Columbia

  Technology Ventures in February 2016 maintained the original revenue split, with each of

  Columbia and UTRF receiving 50% of the net consideration paid for a license to the 11-1F4

  technology.




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                 Despite these repeated, positive communications indicating interest in amending

  the IIA to include a license to all 11-1F4 materials and know-how, the IIA was never amended.

                 Contemporaneous to UTRF and Columbia negotiating the amended IIA, Caelum

  sought and was successful in entering into a secret option agreement with Columbia that illegally

  sought to deprive UTRF of its rights in and to the 11-1F4 property and know-how.

                 On information and belief, based on UTRF’s requests in negotiations with

  Columbia University regarding a possible amendment of the IIA, Caelum decided that it could

  commercialize the 11-1F4 technology on more favorable financial terms by excluding UTRF from

  the licensing discussions.

                 Accordingly, rather than allowing Columbia University and UTRF to continue their

  good-faith negotiations regarding the amendment of the IIA, and rather than engaging directly with

  UTRF in negotiations for a license to commercialize the 11-1F4 technology, Caelum requested

  that Columbia cease negotiations with UTRF and not agree to amend the IIA.

                 On information and belief, Caelum’s orchestration of its 2016 secret option

  agreement with Columbia was intended by Caelum to cause the termination of the business

  relationship between Columbia and UTRF.

                 Caelum’s interference in the Columbia / UTRF business relationship was directed

  at causing harm to UTRF. Under the 2016 secret option agreement and the March 14, 2017

  Agreement between Caelum, UTRF, and The University of Tennessee, Caelum orchestrated the

  unlawful conversion and misappropriation of UTRF’s property and trade secrets. The injury to

  UTRF was undertaken with malicious intent by Caelum as Caelum contemporaneously recognized

  in interviews and press releases UTRF’s singularly important role in the development of the very

  property and trade secrets of which Caelum sought deprive UTRF.




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                 Caelum’s improper actions in interfering with UTRF and Columbia’s business

  relationship included slandering UTRF’s title and having Columbia purportedly grant Caelum

  rights to UTRF’s property without UTRFs permission.

                 Highlighting Caelum’s knowledge of its own improper actions in interfering with

  UTRF and Columbia’s business relationship with respect to the amendment of the IIA is the fact

  that, on information and belief, Caelum is obligated to indemnify Columbia University for any

  damages arising out of its commercialization of the 11-1F4 technology and/or any misuse of the

  11-1F4 property rights and know-how.

                 Caelum’s interference in the business relationship between Columbia University

  and UTRF has prevented UTRF from commercializing the 11-1F4 technology through joint efforts

  with Columbia University.

                 Caelum’s tortious interference in UTRF’s business relationship with Columbia is

  based on inducing Columbia to do business with Caelum while excluding UTRF. This inducement

  was accomplished not by offering the Columbia confidential information in order to induce the

  relationship but by Caelum seeking to do business with Columbia to the injury of UTRF.

                 As a direct result of Caelum’s interference with UTRF’s business relationship with

  Columbia University, UTRF has suffered pecuniary loss in an amount to be proven at trial.

                 UTRF respectfully requests judgment against Caelum for tortious interference with

  UTRF’s business relationship with Columbia University.


                                     COUNT V
      TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIP WITH INDUSTRY PARTNERS

                 UTRF references and incorporates by reference the preceding paragraphs of this

  Complaint as if fully set forth herein.




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                Prior to Caelum’s formation, UTRF had existing business relationships with large

  and mid-size companies within the pharmaceutical industry interested in commercializing the 11-

  1F4 technology. For example, at least four separate large, sophisticated pharmaceutical and

  biopharmaceutical companies engaged in due diligence to explore the potential to enter into an

  agreement with UTRF regarding the 11-1F4 technology.

                In connection with UTRF’s Inter-Institutional Agreement with Columbia

  University relating to UTRF’s 11-1F4 technology, UTRF disclosed the existence of specific

  pharmaceutical companies who had signed confidentiality agreements and/or term sheets with

  UTRF relating to these companies’ desire to commercialize the 11-1F4 technology.

                On information and belief, Columbia University disclosed to Caelum the specific

  pharmaceutical companies who had expressed interest in commercializing the 11-1F4 technology

  to UTRF. Alternatively, on information and belief, Columbia University disclosed to Caelum that

  there were third-party pharmaceuticals who were also interested in commercializing the 11-1F4

  technology without disclosing the specific identities of those third-party pharmaceutical

  companies to Caelum.

                Caelum was aware that Columbia University had an IIA in place with UTRF

  regarding the joint development of the 11-1F4 technology.

                Caelum requested that Columbia not amend its IIA with UTRF.

                For example, Caelum falsely claims on its website that “Dr. Solomon’s team

  transferred the program to Columbia University (‘Columbia’) . . . .” History, CAELUM WEBSITE,

  available at: https://www.caelumbio.com/about/history/.




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                 On information and belief, Caelum knows this statement to be false because

  Caelum was aware of the joint development efforts between UTRF and Columbia University, as

  memorialized by the IIA.

                 Caelum knows that the IIA between Columbia University and UTRF was never

  amended to include the 11-1F4 property rights and know-how and that the IIA has been terminated.

                 Prior to Caelum conducting secret meetings with Columbia University and

  Columbia Technology Ventures personnel, negotiations toward an amended IIA that would make

  Columbia University and UTRF partners in any license to the 11-1F4 property rights and know-

  how were proceeding in good-faith toward the common goal of advancing the 11-1F4 technology

  to the benefit of patients suffering with amyloidosis and to the benefit of The University of

  Tennessee and Columbia University.

                 For example, in February 2016, a Columbia Technology Ventures employee

  emailed UTRF personnel a draft amendment to the IIA that would have provided UTRF with a

  share of proceeds recognized by the joint venture based on licenses to any 11-1F4 property rights

  and know-how. In that draft amendment to the IIA, Columbia proposed a definition of the Know-

  How as, “Any Know-How associated with the Patent Rights and Materials related to the 11-1F4

  as a diagnostic or therapeutic.”

                 In a subsequent email also in February 2016, Columbia Technology Ventures

  explained that Columbia desired to be partners with UTRF with respect to any subsequent

  modifications of the 11-1F4 technology. The draft amendment to the IIA circulated by Columbia

  Technology Ventures in February 2016 maintained the original revenue split, with each of

  Columbia and UTRF receiving 50% of the net consideration paid for a license to the 11-1F4

  technology.




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                 Despite these repeated, positive communications indicating interest in amending

  the IIA to include a license to all 11-1F4 property and know-how, the IIA was never amended.

                 On information and belief, based on UTRF’s requests in negotiations with

  Columbia University regarding a possible amendment of the IIA, Caelum decided that it could

  commercialize the 11-1F4 technology on more favorable financial terms by excluding UTRF from

  the licensing discussions.

                 Accordingly, rather than allowing Columbia University and UTRF to continue their

  good-faith negotiations regarding the amendment of the IIA, and rather than engaging directly with

  UTRF in negotiations for a license to commercialize the 11-1F4 technology, Caelum, on

  information and belief, requested that Columbia not amend its IIA with UTRF.

                 Caelum then undertook a campaign of publishing false statements suggesting that

  Columbia University, and not UTRF, had proper ownership and title of the 11-1F4 property rights

  and know-how, and that Columbia University could therefore grant the favorable licensing terms

  sought by Caelum.

                 On information and belief, Caelum intended to prevent UTRF from pursuing

  business relationships with interested third-party pharmaceutical companies by clouding UTRF’s

  title to the 11-1F4 property rights and know-how, as well as the 11-1F4 Orphan Drug Designations.

                 As a direct result of Caelum’s interference with UTRF’s business relationship with

  third-party pharmaceutical companies interested in commercializing the 11-1F4 technology,

  UTRF has suffered pecuniary loss in an amount to be proven at trial.

                 Caelum’s tortious interference in UTRF’s business relationships with third-party

  pharmaceutical companies is based on inducing Columbia to do business with Caelum so UTRF

  would be unable to enter into business relationships with third-party pharmaceutical companies.




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  This inducement was accomplished not by offering the Columbia confidential information in order

  to induce the relationship but by Caelum seeking to do business with Columbia to the injury of

  UTRF’s relationships with third-party pharmaceutical companies.

                  UTRF respectfully requests judgment against Caelum for tortious interference with

  UTRF’s business relationship with third-party pharmaceutical companies interested in

  commercializing the 11-1F4 technology.


                                                COUNT VI
                                            UNJUST ENRICHMENT

                  UTRF references and incorporates by reference the preceding paragraphs of this

  Complaint as if fully set forth herein.

                  Defendant Caelum has entered into licensing and other agreements relating to the

  use and commercialization of the 11-1F4 property rights, know-how, and the 11-1F4 Orphan Drug

  Designations.

                  The entirety of Caelum’s business is dedicated to the development of Dr.

  Solomon’s 11-1F4 technology. Caelum’s website states: “Caelum was founded by Fortress

  Biotech in January 2017 to advance the clinical development of research from Alan Solomon,

  M.D., of the University of Tennessee Graduate School of Medicine, with the goal of improving

  treatment options for patients with AL amyloidosis.” About Caelum Biosciences, CAELUM

  BIOSCIENCES       WEBSITE        (last       visited   November     2019),      available     at:

  https://www.caelumbio.com/about/history/.         Upon its founding, Caelum’s parent company,

  Fortress Biotech, announced “the formation of a new subsidiary company, Caelum Biosciences,

  Inc., to advance the development of CAEL-101 (11-1F4).” Fortress Biotech forms a new

  subsidiary, Caelum Biosciences, Inc., to develop a novel treatment for AL Amyloidosis, PRESS

  RELEASE (Jan. 4, 2017) (emphasis added); see also Pipeline, CAELUM BIOSCIENCES WEBSITE (last


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  visited February 2020), available at: https://www.caelumbio.com/pipeline/ (identifying only

  “CAEL-101,” (Caelum’s renaming of 11-1F4) as the only product in Caelum’s product pipeline).

                With nothing more than its development of UTRF’s 11-1F4 antibody, Caelum’s

  majority shareholder presently estimates a “fair value” of Caelum at “$11.2 million.”




  FORTRESS BIOTECH, INC. SEC FORM 10-Q at 14 (Nov. 12, 2019) (emphasis added), available at:
  http://www.snl.com/Cache/c400965120.html.

                Moreover, Caelum’s work with the 11-1F4 antibody has enabled it to secure an

  agreement with Alexion Pharmaceuticals, Inc. entitling Caelum to at least $60 million with

  “potential additional payments of up to $500 million.” Alexion and Caelum Biosciences Announce

  Collaboration to Develop Targeted Therapy for Light Chain (AL) Amyloidosis, PRESS RELEASE

  (Jan. 31, 2019), available at: https://www.caelumbio.com/alexion-and-caelum-biosciences-

  announce-collaboration-to-develop-targeted-therapy-for-light-chain-al-amyloidosis/.

                Caelum has therefore enjoyed significant consideration paid by Alexion

  Pharmaceuticals, Inc. relating to the commercialization of the 11-1F4 technology while failing to

  compensate UTRF.




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                 Caelum has not paid any portion of the revenue it has derived from the

  commercialization of the 11-1F4 technology to UTRF.

                 Allowing Caelum to collect revenue directly attributable to its possession and use

  of the 11-1F4 property rights, know-how, and the 11-1F4 Orphan Drug Designations is unjust and

  wrongly enriches Caelum.

                 Caelum’s breach of its March 14, 2017 Agreement with UTRF, its tortious

  conversion and slander of title of the 11-1F4 Tangible Materials and the 11-1F4 Orphan Drug

  Designations, and Caelum’s tortious interference with UTRF’s business relationships with both

  Columbia     University    and   third-party   pharmaceutical   companies     interested   in   the

  commercialization of the 11-1F4 technology have resulted in the unjust enrichment of Caelum at

  the expense of UTRF in an amount to be proven at trial.

                 UTRF respectfully requests judgment against Caelum for any and all unjust

  enrichment which Caelum has gained as a result of its illegal actions described herein.

                                    COUNT VII
                     MISAPPROPRIATION OF TRADE SECRETS UNDER
    THE TENNESSEE UNIFORM TRADE SECRETS ACT (TENN. CODE ANN. § 47-25-1701 ET SEQ.)

                 UTRF references and incorporates by reference the preceding paragraphs of this

  Complaint as if fully set forth herein.

                 Caelum has misappropriated UTRF’s trade secrets.             Specifically, Caelum

  misappropriated the following confidential information: confidential know-how associated with

  the development and use of the 11-1F4 antibody products, including the results, data, and

  information relating to antigens, antibodies, and cell lines necessary or useful for development or

  commercialization of the 11-1F4 antibody products, as well as research data prepared by

  University of Tennessee researchers utilized in the Investigational New Drug application file

  submitted with the U.S. Food and Drug Administration in connection with an approval request for


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  11-1F4 therapies (including IND No. 117,316 entitled, “Chimeric Monoclonal Antibody 11-1F4”)

  (collectively, the “11-1F4 Trade Secrets”).

                 The 11-1F4 Trade Secrets have value independent of any 11-1F4 property rights.

  Specifically, the trade secrets are valuable data that enable the development of a drug product.

  Caelum was able to use the 11-1F4 Trade Secrets to obtain a substantial monetary investment from

  Alexion.

         So the reason we're really excited about CAEL-101 is it's an antibody that is
         specifically designed to bind to the kappa and lambda light chains of
         immunoglobulin. And when we looked at the data that the company had generated
         and researchers had generated in the University of Tennessee and at Columbia
         University and we looked at the in vivo imaging data, that gave us a lot of
         confidence because we could actually see that this antibody is binding to the
         amyloid deposits in the organs.
  Alexion Pharmaceuticals, Inc. Investor Day Presentation, CCBN FAIR DISCLOSURE WIRE
  TRANSCRIPt (March 20, 2019) (emphasis added).

                 Caelum has recognized the independent value of the 11-1F4 Trade Secrets as it

  previously paid Columbia for these trade secrets in a 2017 Agreement.

                 The value of the 11-1F4 Trade Secrets is based on the information not being

  generally known. Should the 11-1F4 Trade Secrets be generally known, possession of the 11-1F4

  Trade Secrets would not confer a competitive advantage or economic advantage on a drug

  developer.

                 The 11-1F4 Trade Secrets have been subject to significant efforts to maintain their

  secrecy. For example, the filing of the 11-1F4 Trade Secrets as part of an investigational new drug

  application is subject to significant confidentiality restrictions. See generally 21 C.F.R. §§ 601.50-

  601.51 (providing for extensive confidentiality protections for any [Investigational New Drug

  application] as well as “all data” and the “master files, and other related submissions” associated

  with any such application filed with the U.S. Food and Drug Administration).



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                  Caelum and Columbia have made efforts to maintain the secrecy of the 11-1F4

  Trade Secrets by entering into confidentiality agreements that restrict the distribution of the 11-

  1F4 Trade Secrets. These secrecy efforts include provisions in a 2017 Agreement between Caelum

  and Columbia.

                  In violation of Tenn. Code Ann. § 45-25-1702, Caelum misappropriated the 11-1F4

  Trade Secrets through improper means by having Columbia provide the 11-1F4 Trade Secrets

  despite knowing that UTRF was the owner of the 11-1F4 Trade Secrets and had not authorized

  Caelum’s access to or appropriation of the 11-1F4 Trade Secrets.

                  Caelum knew that the 11-1F4 Trade Secrets were the property of UTRF and its

  access was unauthorized. Specifically, Caelum was aware that the data was generated by The

  University of Tennessee and that there was not a valid assignment by the University or UTRF of

  the 11-1F4 Trade Secrets to Caelum.

                  Caelum’s misappropriation of UTRF’s 11-1F4 Trade Secrets was willful and

  malicious as defined by Tenn. Code Ann. §§ 47-25-1704(b) and 47-25-1705(3).

                  Contemporaneous to UTRF and Columbia negotiating an amendment to their IIA,

  Caelum sought and was successful in entering into a secret option agreement with Columbia that

  illegally sought to obtain UTRF’s 11-1F4 Trade Secrets unbeknownst to UTRF.

                  On information and belief, based on UTRF’s requests in negotiations with

  Columbia University regarding a possible amendment of the IIA, Caelum decided that it could

  commercialize the 11-1F4 technology on more favorable financial terms by excluding UTRF from

  the licensing discussions.

                  Accordingly, rather than allowing Columbia University and UTRF to continue their

  good-faith negotiations regarding the amendment of the IIA, and rather than engaging directly with




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  UTRF in negotiations for a license to commercialize the 11-1F4 technology, Caelum requested

  that Columbia cease negotiations with UTRF and not agree to amend the IIA.

                 Caelum’s continued unlicensed, uncompensated misappropriation of the 11-1F4

  Trade Secrets is contrary to UTRF’s rights, title, and interest in the 11-1F4 Trade Secrets.

                 As a direct result of Caelum’s misappropriation of UTRF’s 11-1F4 Trade Secrets,

  UTRF has been harmed, and will continue to be harmed.

                 As a result of Caelum’s misappropriation of UTRF’s 11-1F4 Trade Secrets, UTRF

  has suffered damages in an amount to be proven at trial. UTRF respectfully requests judgment

  against Caelum for misappropriation of UTRF’s trade secrets.




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                                       PRAYER FOR RELIEF

  WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in its favor and

  against Caelum, including:

         A.     A finding that Caelum has breached its 2017 Agreement with UTRF by

                utilizing the 11-1F4 Tangible Property owned by UTRF and caused

                damages to UTRF in an amount to be proven at trial, together with interest

                and costs as fixed by the Court;

         B.     A finding that Caelum is liable for conversion of UTRF’s 11-1F4 Converted

                Property and caused damages to UTRF in an amount to be proven at trial,

                together with interest and costs as fixed by the Court;

         C.     A finding that Caelum is liable for slander of title of UTRF’s 11-1F4

                Slandered Property and caused damages to UTRF in an amount to be proven

                at trial, together with UTRF’s attorneys’ fees and costs associated with this

                action and interest and costs as fixed by the Court;

         D.     A finding that Caelum is liable for tortious interference with UTRF’s

                business relationship with Columbia University and caused damages to

                UTRF in an amount to be proven at trial, together with interest and costs as

                fixed by the Court;

         E.     A finding that Caelum is liable for tortious interference with UTRF’s

                business relationship with third-party pharmaceutical companies interested

                in commercializing the 11-1F4 technology and caused damages to UTRF in

                an amount to be proven at trial, together with interest and costs as fixed by

                the Court;

         F.     A finding that Caelum has been unjustly enriched at UTRF’s expense and


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                 caused damages in an amount to be proven at trial, together with interest

                 and costs as fixed by the Court; and

         G.      A finding pursuant to that Caelum utilized improper means to

                 misappropriate UTRF’s 11-1F4 Trade Secrets from UTRF and caused

                 damages to UTRF in an amount to be proven at trial, together with

                 exemplary damages not exceeding twice UTRF’s damages, UTRF’s

                 attorneys’ fees and costs associated with this action and interest and costs

                 as fixed by the Court.

                                      JURY TRIAL DEMANDED

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, University of Tennessee

  Research Foundation hereby requests a trial by jury of any issues so triable by right.




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   Dated: March 6, 2020                Respectfully submitted,

                                       s/Wayne A. Ritchie II____________
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                                      Certificate of Service
          The undersigned hereby certifies that on this 6th day of March, 2020, the foregoing was
  electronically filed with the Clerk of Court using the CM/EFC filing system, which will
  electronically serve same on all counsel of record.



                                             s/Wayne A. Ritchie II
                                             WAYNE A. RITCHIE II




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